                                                         Entered on Docket
                                                         June 17, 2019
                                                         EDWARD J. EMMONS, CLERK
                                                         U.S. BANKRUPTCY COURT
                                                         NORTHERN DISTRICT OF CALIFORNIA


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9                                 UNITED STATES BANKRUPTCY COURT

10             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

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12
     In re:  JEFFREY E. DEWEESE,                      Case No. 19-30625 HLB13
13
     dba JEFFREY E. DEWEESE, MD,
14                        Debtor,                     Chapter 13

15                                                    Order Extending Time to File Missing
                                                      Required Documents [11 USC Section 521(i)(3)]
16                                         /

17               Upon consideration of Debtor; Motion to Extend Time to File Missing Required

18   Documents pursuant to 11 U.S.C. Section 521(i)(3), it appears that good cause exists.

19               IT IS ORDERED that time to file missing required documents is granted for 15 days

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     of the date of this order.

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                                               **END OF ORDER**
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     Order Extending Time to File Missing Documents

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1                                              Court Service List
     None
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     Order Extending Time to File Missing Documents

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